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 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:18-CR-0024-GEB-1
12                                Plaintiff,            STIPULATION AND [PROPOSED] ORDER TO
                                                        CONTINUE STATUS CONFERENCE AND
13                          v.                          EXCLUDE TIME
14   DONTE ROBINS,                                      Date: October 19, 2018
                                                        Time: 9:00 a.m.
15                               Defendant.             Judge: Hon. Garland E. Burrell, Jr.
16

17          The United States of America, through its undersigned counsel, and defendant Donte Robins,

18 through his counsel of record, stipulate that the status conference set for October 19, 2018, be continued
                                     1
19 to November 2, 2018, at 9:00 a.m.

20          In March 2018, Mr. Robins and Mr. Markanson were arraigned on the nine-count Superseding
                                                                                      2
21 Indictment. (ECF Nos. 15, 21, 22.) Mr. Burks was arraigned separately, in May 2018. (ECF No. 37.)

22 The government had produced to defense counsel the discovery relevant to this case. This includes 139

23 pages of written materials and roughly 130 photos, as well as fifteen compact disks containing dozens of

24 audio and video files.

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            1
             A status hearing for co-defendants Joshua Markanson and Isaiah Burks is currently set on this
26 date.
           2
27           Co-defendant Rayshawn Wray was recently taken into federal custody and made his initial
   appearance in a Rule 5 hearing in the Central District of California. United States v. Rayshawn Wray,
28 5:18-mj-0419 (C.D. Cal.). He will make his initial appearance in the Eastern District of California upon
   his arrival in this District via the U.S. Marshals Service.
     STIPULATION AND [PROPOSED] ORDER TO CONTINUE         1
30    STATUS CONFERENCE
               Case 2:18-cr-00024-TLN Document 55 Filed 10/19/18 Page 2 of 3


 1          In addition, in the coming week, the government will be producing additional discovery materials

 2 to all defense counsel, with documents potentially relevant to each defendant under Brady v. Maryland,

 3 373 U.S. 83 (1963), and Giglio v. United States, 405 U.S. 150 (1972). Defense counsel will require time

 4 to review these new materials, as well as the materials already produced, time to conduct research and

 5 investigation about the charged offenses and potential defenses, and time to otherwise prepare for trial.

 6          Based on the foregoing, Mr. Robins (through counsel) stipulates that the status conference set for

 7 October 19, 2018, be continued to November 2, 2018, at 9:00 a.m. The parties further agree that time

 8 under the Speedy Trial Act should be excluded from the date the parties stipulated, up to and including

 9 November 2, 2018, under 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time to prepare], and
10 General Order 479 [Local Code T4], based on continuity of counsel and defense preparation.

11          The parties agree that the failure to grant a continuance in this case would deny defense counsel

12 reasonable time necessary for effective preparation, taking into account the exercise of due diligence.

13 The parties also agree that the ends of justice served by the Court granting the requested continuance

14 outweigh the best interests of the public and the defendant in a speedy trial.

15                                                       Respectfully submitted,

16

17 Dated: October 18, 2018                               _/s/ Timothy H. Delgado___________
                                                         TIMOTHY H. DELGADO
18
                                                         Assistant United States Attorney
19                                                       Attorneys for Plaintiff United States

20
     Dated: October 18, 2018                             _/s/ THD for Linda C. Allison_______
21                                                       LINDA C. ALLISON
                                                         Attorney for Defendant Donte Robins
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      STIPULATION AND [PROPOSED] ORDER TO CONTINUE       2
30    STATUS CONFERENCE
               Case 2:18-cr-00024-TLN Document 55 Filed 10/19/18 Page 3 of 3


 1                                                     ORDER

 2          The Court, having received and considered the parties’ stipulation, and good cause appearing

 3 therefore, adopts the parties’ stipulation in its entirety as its order. The Court specifically finds that the

 4 failure to grant a continuance in this case would deny counsel reasonable time necessary for effective

 5 preparation, taking into account the exercise of due diligence. The Court also finds that the ends of

 6 justice served by granting the requested continuance outweigh the best interests of the public and the

 7 defendant in a speedy trial.

 8          The Court orders that the time from the date the parties stipulated, up to and including November

 9 2, 2018, shall be excluded from computation of time within which the trial in this case must begin under
10 the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time to prepare], and General

11 Order 479 [Local Code T4]. It is further ordered that the October 19, 2018 status conference be

12 continued until November 2, 2018, at 9:00 a.m.

13 Dated: October 19, 2018

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      STIPULATION AND [PROPOSED] ORDER TO CONTINUE         3
30    STATUS CONFERENCE
